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                                                                                 '         ·•    J \         ~


UNITED STATES DISTRICT COURT                                                                                         ,' Vt l~- ii
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SOUTHERN DISTRICT OF NEW YORK                                        {_:<_ ", '
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EZRASONS, INC.,                                                                            •;·_-; i:;:,: .3j /~~# -
                                   Plaintiff,
                 -against-                                                   21                 CIVIL 3165 (LGS)

                                                                                          JUDGMENT
THE TRAVELERS INDEMNITY CO.,

                                   Defendant.
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         It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated March 14, 2022, Plaintiffs motion is denied, and

Defendant's motion is granted.

Dated: New York, New York

          March 14, 2022


                                                                     RUBY J. KRAJICK

                                                                             Clerk of Court
                                                               BY:
                                                                       ~/Y}l4/i0p
                                                                             Deputy Clerk
